             Case 5:16-cv-01185-XR Document 1 Filed 11/22/16 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                                    :
Kayode Adewole,                                     :                    5:16-cv-1185
                                                      Civil Action No.: ______
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Medicredit, Inc.,                                   :
                                                      COMPLAINT
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

        For this Complaint, Plaintiff, Kayode Adewole, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        4.      Plaintiff, Kayode Adewole (“Plaintiff”), is an adult individual residing in San

Antonio, Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant, Medicredit, Inc. (“Medicredit”), is a business entity with an address

of 3620 Interstate 70 Drive SE, Columbia, Missouri, 65201-6582, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).
              Case 5:16-cv-01185-XR Document 1 Filed 11/22/16 Page 2 of 4



                      ALLEGATIONS APPLICABLE TO ALL COUNTS

A.      The Debt

        6.      A financial obligation (the “Debt”) was allegedly incurred to an original creditor

(the “Creditor”).

        7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

        8.      The Debt was purchased, assigned or transferred to Medicredit for collection, or

Medicredit was employed by the Creditor to collect the Debt.

        9.      Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B.      Medicredit Engages in Harassment and Abusive Tactics

        10.     In July 2016, Medicredit began calling Plaintiff in an attempt to collect the Debt.

        11.     Plaintiff returned the calls to Medicredit in an attempt to determine the purpose of

the calls.

        12.     Medicredit advised Plaintiff that neither his name nor his telephone number was

in Medicredit’s system.

        13.      Nevertheless, Medicredit continued to harass Plaintiff with calls.

C.      Plaintiff Suffered Actual Damages

        14.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendant’s unlawful conduct.

        15.     As a direct consequence of Defendant’s acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.
                                                  2
             Case 5:16-cv-01185-XR Document 1 Filed 11/22/16 Page 3 of 4



                                  COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       16.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       17.     Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       18.     Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       19.     Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair and

unconscionable means to collect the Debt.

       20.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA.

       21.     Plaintiff is entitled to damages as a result of Defendant’s violations.

                                   COUNT II
                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                        TEX. FIN. CODE ANN. § 392, et al.

       22.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       23.     Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

       24.     Defendant is a “debt collector” and a “third party debt collector” as defined by

Tex. Fin. Code Ann. § 392.001(6) and (7).

       25.     Defendant caused a telephone to ring repeatedly, with the intent to annoy or abuse

Plaintiff, in violation of Tex. Fin. Code Ann. § 392.302(4).


                                                 3
             Case 5:16-cv-01185-XR Document 1 Filed 11/22/16 Page 4 of 4



       26.     Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex. Fin.

Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code § 17.62

pursuant to Tex. Fin. Code Ann. § 392.404(a).

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3);

                  4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

                  5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                  6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                       Code Ann. § 392.404(a);

                  7. Such other and further relief as may be just and proper.

                         TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: November 22, 2016
                                              Respectfully submitted,

                                              By: __/s/ Sergei Lemberg_________

                                              Sergei Lemberg, Attorney-in-Charge
                                              Connecticut Bar No. 425027
                                              LEMBERG LAW, L.L.C.
                                              43 Danbury Road, 3rd Floor
                                              Wilton, CT 06897
                                              Telephone: (203) 653-2250
                                              Facsimile: (203) 653-3424
                                              E-mail: slemberg@lemberglaw.com
                                              Attorneys for Plaintiff




                                                 4
